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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

  In re:                                           §    Case No. 10-76803-MGD
                                                   §
  LENDXFINANCIAL, LLC                              §
                                                   §
                                                   §
                      Debtor(s)                    §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Jason L. Pettie, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $164.00                  Assets Exempt:        NA
(without deducting any secured claims)



Total Distributions to                                 Claims Discharged
Claimants:                         $629,046.56         Without Payment:      NA

Total Expenses of
Administration:                    $92,890.44


        3)      Total gross receipts of $721,937.00 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $721,937.00 from the
liquidation of the property of the estate, which was distributed as follows:




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                                     CLAIMS           CLAIMS             CLAIMS             CLAIMS
                                   SCHEDULED         ASSERTED           ALLOWED              PAID
  Secured Claims
  (from Exhibit 3)                  $5,500,000.00             $0.00         $1,729.70         $1,729.70
  Priority Claims:
      Chapter 7 Admin.
      Fees and Charges                       NA        $92,890.44          $92,890.44        $92,890.44
       (from Exhibit 4)
      Prior Chapter Admin.
      Fees and Charges                       NA               $0.00             $0.00              $0.00
      (from Exhibit 5)
      Priority Unsecured
      Claims                               $0.00              $0.00             $0.00              $0.00
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)            $237,857.00    $7,592,284.46       $7,592,284.46       $627,316.86

    Total Disbursements             $5,737,857.00   $7,685,174.90       $7,686,904.60       $721,937.00

        4). This case was originally filed under chapter 7 on 06/07/2010. The case was pending
  for 52 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 11/24/2014                              By:    /s/ Jason L. Pettie
                                                               Trustee




  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                                     UNIFORM                        AMOUNT
                                                                         TRAN. CODE                     RECEIVED
Wesley Barclay                                                            1121-000                           $811.00
business checking account - SunTrust                                      1129-000                        $26,547.84
business trust account - SunTrust                                         1129-000                       $106,928.03
accounts receiveables - secured mortgage loan                             1229-000                        $87,636.54
Fraudulent Transfer Avoidance: 5295 Morton Rd                             1241-000                       $500,000.00
Interest Earned                                                           1270-000                            $13.59
TOTAL GROSS RECEIPTS                                                                                     $721,937.00

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM             CLAIMANT          UNIFORM              CLAIMS             CLAIMS   CLAIMS               CLAIMS
NUMBER                              TRAN. CODE         SCHEDULED           ASSERTED ALLOWED                  PAID
     1        Wesley Barclay           4700-000                  $0.00             $0.00    $1,729.70      $1,729.70
              Evangelina               4110-000         $5,500,000.00              $0.00        $0.00             $0.00
              Forsberg,
              Stuart Law               4110-000                  $0.00             $0.00        $0.00             $0.00
              Group, LLC
TOTAL SECURED CLAIMS                                    $5,500,000.00              $0.00    $1,729.70      $1,729.70


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

         PAYEE              UNIFORM                  CLAIMS   CLAIMS                    CLAIMS             CLAIMS
                           TRAN. CODE             SCHEDULED ASSERTED                  ALLOWED                PAID
Jason L. Pettie,             2100-000                         NA     $39,306.30        $39,306.30         $39,306.30
Trustee
Jason L. Pettie,             2200-000                         NA         $156.22           $156.22           $156.22
Trustee
International Sureties,      2300-000                         NA         $207.87           $207.87           $207.87
Ltd
International Sureties,      2300-000                         NA         $101.92           $101.92           $101.92
Ltd.
unpaid water bill            2420-000                         NA          $63.52            $63.52            $63.52
                             2500-000                         NA          $25.00            $25.00            $25.00
Integrity Bank               2600-000                         NA     $12,937.43        $12,937.43         $12,937.43
US Bankruptcy Court          2700-000                         NA         $250.00           $250.00           $250.00
City and County real         2820-000                         NA     $10,177.45        $10,177.45         $10,177.45

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estate taxes/penalties
Jason L. Pettie, P.C.,       3110-000                 NA     $2,850.00           $2,850.00        $2,850.00
Attorney for Trustee
Munger & Stone LLP,          3210-600                 NA    $25,695.73       $25,695.73          $25,695.73
Special Counsel for
Trustee
Stonebridge                  3410-000                 NA     $1,119.00           $1,119.00        $1,119.00
Accounting Strategies,
Inc., Accountant for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                       NA    $92,890.44       $92,890.44          $92,890.44
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS
 NONE


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT            UNIFORM         CLAIMS         CLAIMS   CLAIMS                CLAIMS
NUMBER                             TRAN. CODE    SCHEDULED       ASSERTED ALLOWED                   PAID
    1A        Frank Thrift           7100-000            $0.00    $25,000.00       $25,000.00     $2,065.64
     2        Aaron Wise             7100-000            $0.00    $25,000.00       $25,000.00     $2,065.64
     3        Munger & Stone         7100-000            $0.00   $584,000.00      $584,000.00    $48,253.33
              LLP
     4        Damon Smith            7100-000            $0.00   $150,000.00      $150,000.00    $12,393.84
     5        Evangeline             7100-000            $0.00 $6,357,000.00 $6,357,000.0       $525,250.77
              Forsberg                                                                  0
     6        Stuart &               7100-000            $0.00   $451,284.46      $451,284.46    $37,287.64
              Johnston, LLC &
              CBeyond                7100-000        $3,000.00           $0.00          $0.00          $0.00
              CT Corporation         7100-000       $10,000.00           $0.00          $0.00          $0.00
              FedEx                  7100-000        $1,500.00           $0.00          $0.00          $0.00
              First American         7100-000        $2,000.00           $0.00          $0.00          $0.00
              Corelogic
              Habif, Arogeti &       7100-000      $180,000.00           $0.00          $0.00          $0.00
              Wynn, LLP
              Landsafe               7100-000       $10,239.00           $0.00          $0.00          $0.00
              Macey, Wilensky,       7100-000        $8,118.00           $0.00          $0.00          $0.00
              Kessler &
              Hennings, LLC
              MERS Inc.              7100-000       $13,000.00           $0.00          $0.00          $0.00
              Oxley Goldburn         7100-000       $10,000.00           $0.00          $0.00          $0.00
              Insurance
TOTAL GENERAL UNSECURED CLAIMS                     $237,857.00 $7,592,284.46 $7,592,284.4       $627,316.86

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                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Page No:    1                      Exhibit 8
                                                                                                              ASSET CASES

Case No.:                        10-76803-MGD                                                                                                                    Trustee Name:                             Jason L. Pettie
Case Name:                       LENDXFINANCIAL, LLC                                                                                                             Date Filed (f) or Converted (c):          06/07/2010 (f)
For the Period Ending:           11/24/2014                                                                                                                      §341(a) Meeting Date:                     07/12/2010
                                                                                                                                                                 Claims Bar Date:                          12/01/2010

                                     1                                                2                                3                                 4                        5                                          6

                            Asset Description                                      Petition/                    Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                             (Scheduled and                                      Unscheduled                   (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                        Unscheduled (u) Property)                                   Value                             Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                              Less Liens, Exemptions,
                                                                                                                 and Other Costs)

 Ref. #
1       business checking account - SunTrust                                           $26,351.00                               $26,547.84                                       $26,547.84                                           FA
2          business trust account - Bank of America                                         $102.00                                     $0.00                                          $0.00                                          FA
3          business trust account - SunTrust                                         $108,090.00                               $106,928.03                                      $106,928.03                                           FA
4          gut mip funding fee - SunTrust                                                    $62.00                                     $0.00                                          $0.00                                          FA
5          accounts receiveables - secured mortgage loan               (u)                    $0.00                            $100,000.00                                       $87,636.54                                           FA
6          Fraudulent Transfer Avoidance: 5295 Morton                  (u)           $600,000.00                               $500,000.00                                      $500,000.00                                           FA
           Rd
INT        Interest Earned                                             (u)                 Unknown                               Unknown                                              $13.59                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                                        Gross Value of Remaining Assets
                                                                                      $734,605.00                              $733,475.87                                      $721,126.00                                       $0.00



        Major Activities affecting case closing:
          prepare distribution, submit TFR
          monitor realtor's progress in marketing and selling property in Alpharetta, Ga
          monitor adversary proceeding regarding avoidance of transfer to insider


    Initial Projected Date Of Final Report (TFR):           09/30/2011                                Current Projected Date Of Final Report (TFR):          11/30/2013               /s/ JASON L. PETTIE
                                                                                                                                                                                      JASON L. PETTIE
                                                                                                                                                                      Page No: 1             Exhibit 9
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          10-76803-MGD                                                                                      Trustee Name:                       Jason L. Pettie
 Case Name:                        LENDXFINANCIAL, LLC                                                                               Bank Name:                          Integrity Bank
Primary Taxpayer ID #:             **-***7054                                                                                        Checking Acct #:                    ******6803
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                      DDA
For Period Beginning:              6/7/2010                                                                                          Blanket bond (per case limit):      $300,000.00
For Period Ending:                 11/24/2014                                                                                        Separate bond (if applicable):

       1                2                                     3                                      4                                                     5                 6                   7

   Transaction       Check /                            Paid to/             Description of Transaction                               Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                         Received From                                                                   Tran Code            $                 $


08/10/2011                     Sterling Bank                         Transfer Funds                                                   9999-000          $87,650.13                               $87,650.13
08/31/2011                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $100.33       $87,549.80
09/30/2011                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $136.66       $87,413.14
10/31/2011                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $140.99       $87,272.15
11/03/2011            (1)      State Court of Gwinnett County                                                                         1129-000          $26,547.84                              $113,819.99
11/30/2011                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $168.00      $113,651.99
12/30/2011                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $183.31      $113,468.68
01/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $183.02      $113,285.66
02/22/2012           5001      International Sureties, Ltd.          Bond Payment                                                     2300-000                                     $101.92      $113,183.74
02/29/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $170.93      $113,012.81
03/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $182.31      $112,830.50
04/30/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $176.12      $112,654.38
05/31/2012            (3)      SunTrust Bank                         payment for closed bank account                                  1129-000             $257.87                              $112,912.25
05/31/2012            (3)      SunTrust                              payment for closed bank account                                  1129-000        $106,670.16                               $219,582.41
05/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $181.70      $219,400.71
06/27/2012           5002      Wesley Barclay                        payment of admin expense approved by order no. 58                   *                                         $918.70      $218,482.01
                                                                     (motion no. 50)
                                                                     reimbursement for property taxes paid             $(1,729.70)    4700-000                                                  $218,482.01
                                                                     due from payee for monthly note                     $811.00      1121-000                                                  $218,482.01
                                                                     payment
06/30/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $320.21      $218,161.80
07/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $352.07      $217,809.73
08/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $351.31      $217,458.42
09/30/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $339.43      $217,118.99
10/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $350.20      $216,768.79
11/30/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $338.35      $216,430.44
12/31/2012                     Integrity Bank                        Bank Service Fee                                                 2600-000                                     $349.09      $216,081.35
01/18/2013           5003      Munger & Stone LLP                    special counsel fees (#61)                                       3210-600                               $25,695.73         $190,385.62


                                                                                                                                     SUBTOTALS          $221,126.00          $30,740.38
                                                                                                                                                                            Page No: 2             Exhibit 9
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          10-76803-MGD                                                                                            Trustee Name:                       Jason L. Pettie
 Case Name:                        LENDXFINANCIAL, LLC                                                                                     Bank Name:                          Integrity Bank
Primary Taxpayer ID #:             **-***7054                                                                                              Checking Acct #:                    ******6803
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                      DDA
For Period Beginning:              6/7/2010                                                                                                Blanket bond (per case limit):      $300,000.00
For Period Ending:                 11/24/2014                                                                                              Separate bond (if applicable):

       1                2                                    3                                          4                                                        5                 6                   7

   Transaction       Check /                              Paid to/              Description of Transaction                                  Uniform           Deposit        Disbursement           Balance
      Date            Ref. #                           Received From                                                                       Tran Code            $                 $


01/31/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                     $337.82      $190,047.80
02/28/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                     $276.87      $189,770.93
03/14/2013           5004      International Sureties, Ltd               Bond Payment                                                       2300-000                                     $207.87      $189,563.06
03/31/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                     $305.97      $189,257.09
04/22/2013                     Mclain & Merritt PC                       funds from closing on sale of Morton Rd property                      *            $489,734.03                               $678,991.12
                      {6}                                                                                                   $500,000.00     1241-000                                                  $678,991.12
                                                                                                                                $(25.00)    2500-000                                                  $678,991.12
                                                                         unpaid water bill                                      $(63.52)    2420-000                                                  $678,991.12
                                                                         City and County real estate                        $(10,177.45)    2820-000                                                  $678,991.12
                                                                         taxes/penalties
04/30/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                     $473.78      $678,517.34
05/31/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,094.41      $677,422.93
06/30/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,057.39      $676,365.54
07/31/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,090.93      $675,274.61
08/31/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,089.17      $674,185.44
09/30/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,052.34      $673,133.10
10/31/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,085.72      $672,047.38
11/30/2013                     Integrity Bank                            Bank Service Fee                                                   2600-000                                   $1,049.00      $670,998.38
03/11/2014           5005      Jason L. Pettie                           Trustee Compensation                                               2100-000                               $39,306.30         $631,692.08
03/11/2014           5006      Jason L. Pettie                           Trustee Expenses                                                   2200-000                                     $156.22      $631,535.86
03/11/2014           5007      US Bankruptcy Court                        Claim #: 7; Amount Claimed: 250.00; Amount Allowed:               2700-000                                     $250.00      $631,285.86
                                                                         250.00; Dividend: 0.03;
03/11/2014           5008      Jason L. Pettie, P.C.                      Claim #: ; Amount Claimed: 2,850.00; Amount Allowed:              3110-000                                   $2,850.00      $628,435.86
                                                                         2,850.00; Dividend: 0.42;
03/11/2014           5009      Stonebridge Accounting Strategies, Inc.    Claim #: ; Amount Claimed: 1,119.00; Amount Allowed:              3410-000                                   $1,119.00      $627,316.86
                                                                         1,119.00; Dividend: 0.16;
03/11/2014           5010      Frank Thrift                              Claim #: 1; Amount Claimed: 25,000.00; Amount                      7100-000                                   $2,065.64      $625,251.22
                                                                         Allowed: 25,000.00; Dividend: 0.30;



                                                                                                                                           SUBTOTALS          $489,734.03          $54,868.43
                                                                                                                                                                           Page No: 3              Exhibit 9
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         10-76803-MGD                                                                                           Trustee Name:                         Jason L. Pettie
 Case Name:                       LENDXFINANCIAL, LLC                                                                                    Bank Name:                            Integrity Bank
Primary Taxpayer ID #:            **-***7054                                                                                             Checking Acct #:                      ******6803
Co-Debtor Taxpayer ID #:                                                                                                                 Account Title:                        DDA
For Period Beginning:             6/7/2010                                                                                               Blanket bond (per case limit):        $300,000.00
For Period Ending:                11/24/2014                                                                                             Separate bond (if applicable):

       1                2                                 3                                           4                                                        5                   6                   7

   Transaction       Check /                            Paid to/             Description of Transaction                                   Uniform           Deposit          Disbursement           Balance
      Date            Ref. #                         Received From                                                                       Tran Code            $                   $


03/11/2014           5011      Aaron Wise                             Claim #: 2; Amount Claimed: 25,000.00; Amount                       7100-000                                     $2,065.64      $623,185.58
                                                                      Allowed: 25,000.00; Dividend: 0.30;
03/11/2014           5012      Munger & Stone LLP                     Claim #: 3; Amount Claimed: 584,000.00; Amount                      7100-000                                 $48,253.33         $574,932.25
                                                                      Allowed: 584,000.00; Dividend: 7.19;
03/11/2014           5013      Damon Smith                            Claim #: 4; Amount Claimed: 150,000.00; Amount                      7100-000                                 $12,393.84         $562,538.41
                                                                      Allowed: 150,000.00; Dividend: 1.84;
03/11/2014           5014      Evangeline Forsberg                    Claim #: 5; Amount Claimed: 6,357,000.00; Amount                    7100-000                                $525,250.77          $37,287.64
                                                                      Allowed: 6,357,000.00; Dividend: 78.27;
03/11/2014           5015      Stuart & Johnston, LLC &               Claim #: 6; Amount Claimed: 451,284.46; Amount                      7100-000                                 $37,287.64                  $0.00
                                                                      Allowed: 451,284.46; Dividend: 5.55;
04/24/2014           5015      STOP PAYMENT: Stuart & Johnston, LLC   did not receive check - received new address from creditor          7100-004                                ($37,287.64)         $37,287.64
                               &
04/24/2014           5016      Stuart & Johnston, LLC &               Claim #: 6; Amount Claimed: 451,284.46; Amount                      7100-000                                 $37,287.64                  $0.00
                                                                      Allowed: 451,284.46; Dividend: 5.55;

                                                                                        TOTALS:                                                             $710,860.03           $710,860.03                  $0.00
                                                                                            Less: Bank transfers/CDs                                         $87,650.13                 $0.00
                                                                                        Subtotal                                                            $623,209.90           $710,860.03
                                                                                            Less: Payments to debtors                                             $0.00                 $0.00
                                                                                        Net                                                                 $623,209.90           $710,860.03



                     For the period of 6/7/2010 to 11/24/2014                                                         For the entire history of the account between 08/10/2011 to 11/24/2014

                     Total Compensable Receipts:                      $634,286.87                                     Total Compensable Receipts:                               $634,286.87
                     Total Non-Compensable Receipts:                        $0.00                                     Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $634,286.87                                     Total Comp/Non Comp Receipts:                             $634,286.87
                     Total Internal/Transfer Receipts:                 $87,650.13                                     Total Internal/Transfer Receipts:                          $87,650.13


                     Total Compensable Disbursements:                 $721,937.00                                     Total Compensable Disbursements:                          $721,937.00
                     Total Non-Compensable Disbursements:                   $0.00                                     Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:               $721,937.00                                     Total Comp/Non Comp Disbursements:                        $721,937.00
                     Total Internal/Transfer Disbursements:                 $0.00                                     Total Internal/Transfer Disbursements:                          $0.00
                                                                                                                                            Page No: 4           Exhibit 9
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          10-76803-MGD                                                            Trustee Name:                       Jason L. Pettie
 Case Name:                        LENDXFINANCIAL, LLC                                                     Bank Name:                          Sterling Bank
Primary Taxpayer ID #:             **-***7054                                                              Money Market Acct #:                ******6803
Co-Debtor Taxpayer ID #:                                                                                   Account Title:
For Period Beginning:              6/7/2010                                                                Blanket bond (per case limit):      $300,000.00
For Period Ending:                 11/24/2014                                                              Separate bond (if applicable):

       1                2                                3                                          4                           5                  6                 7

   Transaction       Check /                         Paid to/            Description of Transaction         Uniform          Deposit         Disbursement         Balance
      Date            Ref. #                      Received From                                            Tran Code           $                  $


10/01/2010            (5)      Wes & Melissa Barclay              mortgage payment                          1121-000            $841.13                                   $841.13
10/01/2010            (5)      Wes & Melissa Barclay              mortgage payment                          1121-000            $395.41                                  $1,236.54
10/04/2010            (5)      Wes & Melissa Barclay              payment for mortgage                      1121-000            $850.00                                  $2,086.54
10/29/2010           (INT)     Sterling Bank                      Interest Earned For October               1270-000                $0.07                                $2,086.61
11/30/2010           (INT)     Sterling Bank                      Interest Earned For November              1270-000                $0.09                                $2,086.70
12/02/2010            (5)      Wes Barclay                        mortgage payment                          1129-000            $850.00                                  $2,936.70
12/21/2010            (5)      Wes & Melissa Barclay              mortgage payment                          1229-000            $850.00                                  $3,786.70
12/31/2010           (INT)     Sterling Bank                      Interest Earned For December              1270-000                $0.13                                $3,786.83
01/31/2011           (INT)     Sterling Bank                      Interest Earned For January               1270-000                $0.16                                $3,786.99
02/02/2011            (5)      Wes & Melissa Barclay                                                        1121-000            $850.00                                  $4,636.99
02/28/2011           (INT)     Sterling Bank                      Interest Earned For February              1270-000                $0.17                                $4,637.16
03/31/2011           (INT)     Sterling Bank                      Interest Earned For March                 1270-000                $0.20                                $4,637.36
04/21/2011            (5)      Law Office of Kenneth Luther       payment for sale of note/security deed    1229-000         $83,000.00                              $87,637.36
04/29/2011           (INT)     Sterling Bank                      Interest Earned For April                 1270-000                $0.65                            $87,638.01
05/31/2011           (INT)     Sterling Bank                      Interest Earned For May                   1270-000                $3.72                            $87,641.73
06/30/2011           (INT)     Sterling Bank                      Interest Earned For June                  1270-000                $3.60                            $87,645.33
07/29/2011           (INT)     Sterling Bank                      Interest Earned For July                  1270-000                $3.72                            $87,649.05
08/10/2011           (INT)     Sterling Bank                      Interest Earned For August 2011           1270-000                $1.08                            $87,650.13
08/10/2011                     Integrity Bank                     Transfer Funds                            9999-000                               $87,650.13                $0.00




                                                                                                           SUBTOTALS          $87,650.13           $87,650.13
                                                                                                                                                                  Page No: 5           Exhibit 9
                                          Case 10-76803-mgd       Doc 82  Filed 11/24/14
                                                                                 FORM 2 Entered 11/24/14 10:19:01                                     Desc
                                                                              Page   11 of 12
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          10-76803-MGD                                                                                 Trustee Name:                         Jason L. Pettie
Case Name:                        LENDXFINANCIAL, LLC                                                                          Bank Name:                            Sterling Bank
Primary Taxpayer ID #:            **-***7054                                                                                   Money Market Acct #:                  ******6803
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:             6/7/2010                                                                                     Blanket bond (per case limit):        $300,000.00
For Period Ending:                11/24/2014                                                                                   Separate bond (if applicable):

      1                 2                                3                                      4                                                      5                 6                 7

  Transaction        Check /                         Paid to/           Description of Transaction                              Uniform           Deposit          Disbursement         Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                   $


                                                                                  TOTALS:                                                            $87,650.13          $87,650.13                $0.00
                                                                                      Less: Bank transfers/CDs                                            $0.00          $87,650.13
                                                                                  Subtotal                                                           $87,650.13               $0.00
                                                                                      Less: Payments to debtors                                           $0.00               $0.00
                                                                                  Net                                                                $87,650.13               $0.00



                     For the period of 6/7/2010 to 11/24/2014                                               For the entire history of the account between 10/01/2010 to 11/24/2014

                     Total Compensable Receipts:                  $87,650.13                                Total Compensable Receipts:                                $87,650.13
                     Total Non-Compensable Receipts:                   $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $87,650.13                                Total Comp/Non Comp Receipts:                              $87,650.13
                     Total Internal/Transfer Receipts:                 $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                  $0.00                                Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:              $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $0.00                                Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:       $87,650.13                                Total Internal/Transfer Disbursements:                     $87,650.13
                                                                                                                                                           Page No: 6            Exhibit 9
                                          Case 10-76803-mgd       Doc 82  Filed 11/24/14
                                                                                 FORM 2 Entered 11/24/14 10:19:01                              Desc
                                                                              Page   12 of 12
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         10-76803-MGD                                                                            Trustee Name:                         Jason L. Pettie
Case Name:                       LENDXFINANCIAL, LLC                                                                     Bank Name:                            Sterling Bank
Primary Taxpayer ID #:           **-***7054                                                                              Money Market Acct #:                 ******6803
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:            6/7/2010                                                                                Blanket bond (per case limit):        $300,000.00
For Period Ending:               11/24/2014                                                                              Separate bond (if applicable):

      1                 2                                3                                       4                                             5                   6                 7

  Transaction        Check /                         Paid to/            Description of Transaction                       Uniform          Deposit           Disbursement         Balance
     Date             Ref. #                      Received From                                                          Tran Code           $                    $




                                                                                                                                                                       NET           ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE          BALANCES

                                                                                                                                          $710,860.03           $710,860.03                  $0.00




                     For the period of 6/7/2010 to 11/24/2014                                         For the entire history of the case between 06/07/2010 to 11/24/2014

                     Total Compensable Receipts:                  $721,937.00                         Total Compensable Receipts:                               $721,937.00
                     Total Non-Compensable Receipts:                    $0.00                         Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $721,937.00                         Total Comp/Non Comp Receipts:                             $721,937.00
                     Total Internal/Transfer Receipts:             $87,650.13                         Total Internal/Transfer Receipts:                          $87,650.13


                     Total Compensable Disbursements:             $721,937.00                         Total Compensable Disbursements:                          $721,937.00
                     Total Non-Compensable Disbursements:               $0.00                         Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:           $721,937.00                         Total Comp/Non Comp Disbursements:                        $721,937.00
                     Total Internal/Transfer Disbursements:        $87,650.13                         Total Internal/Transfer Disbursements:                     $87,650.13
